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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )              Case No. 8:11CR335
                      Plaintiff,                 )
                                                 )
       vs.                                       )
                                                 )                    ORDER
EFRAIN ROBLEDO-SANCHEZ,                          )
                                                 )
                      Defendant.                 )


       This case is before the court on the defendant's Motion to Review Detention and

Pre-Trial Services Investigation of Third Party Custodian (#32). The motion is denied

without hearing.

       On September 29, 2011 the court entered an Order of Detention (#22) following a

detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act. The court

determined the defendant, pursuant to 18 U.S.C. § 3142(e), should be detained. The

defendant's current motion for further detention hearing contains no additional evidence or

information that would cause the court to reconsider its ruling. This is particularly true given

the defendant's prior deportation (1995), his prior felony drug conviction (California, 1995),

and the fact that the evidence presented fails to rebut the presumption of detention,

18 U.S.C. § 3142(e).

       IT IS ORDERED that defendant's Motion to Review Detention and Pre-Trial Services

Investigation of Third Party Custodian (#32) is denied without hearing.

       Dated this 29th day of November 2011.

                                              BY THE COURT:

                                              S/ F.A. Gossett, III
                                              United States Magistrate Judge
